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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 RUBEN O. ESCOBAR,

        Defendant/Petitioner,

 v.                                                       CASE NO: 8:02-CR-228-T-30EAJ

 UNITED STATES OF AMERICA,

       Plaintiff(s)/Respondent(s).
 ____________________________________/


                                          ORDER

        THIS CAUSE comes before the Court upon Defendant/Petitioner's Motion for Leave

 to File Petitioner's Brief and Arguments Out of Time and an Order That Petitioner Should

 Be Provided with Pre-Trial, Trial and Sentencing Transcript Without Cost (Dkt. #279) to

 issue an order for transcripts pursuant to 28 U.S.C. § 732(b), Federal Rules of Civil

 Procedure Rule 44. Defendant/Petitioner seeks the transcripts for preparation of a 28 U.S.C.

 § 2255 motion to vacate an allegedly illegal conviction or sentence.

        The motion will be denied because Defendant/Petitioner can file the motion to vacate

 without a complete record of his/her case. See Donovan v. Maine, 276 F.3d 87, 93 (1st Cir.

 2002) (habeas corpus petition need not be pleaded with particularity, so citation to transcript

 unnecessary); Lloyd v. Van Natta, 296 F.3d 630 (7th Cir. 2001), cert. denied 123 S. Ct.

 (2003) (holding that the unavailability of a transcript does not preclude petitioner from

 commencing habeas corpus proceedings and does not warrant equitable tolling).
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          It is therefore ORDERED AND ADJUDGED that:

          1.       That Defendant/Petitioner's Motion for Leave to File Petitioner's Brief and

 Arguments Out of Time and an Order That Petitioner Should Be Provided with Pre-Trial,

 Trial and Sentencing Transcript Without Cost Defendant/Petitioner's motion (Dkt. #279) is

 DENIED.

          DONE and ORDERED in Tampa, Florida on July 29, 2005.




 COPIES FURNISHED TO:
 Counsel/Parties of Record

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